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 6
                                 UNITED STATES DISTRICT COURT

 7                             CENTRAL DISTRICT OF CALIFORNIA
 8

 9
      ERIKA HERMAN, an individual,           )            Case No. CV13-09496-JFW-FFM
10                                           )
      Plaintiff,                             )            ORDER GRANTING STIPULATION RE
11
                                             )            DISMISSAL OF ENTIRE ACTION AND
12            vs.                            )            ALL PARTIES, WITH PREJUDICE
                                             )
13    FIRSTSOURCE ADVANTAGE, LLC, and )
      DOES 1 through 10, inclusive,          )
14
                                             )
15    Defendant.                             )
                                             )
16                                           )
                                             )
17
      ______________________________________ )
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19
             The Court has reviewed the Stipulation of Plaintiff, ERIKA HERMAN and Defendant,
20
      FIRSTSOURCE ADVANTAGE, LLC to dismiss with prejudice the above-entitled action, in
21
      its entirety. Pursuant to the Joint Stipulation between parties, the Court orders as follows:
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23    That the above-entitled lawsuit is hereby dismissed, with prejudice, pursuant to FRCP 41(a)(1).
24    Each party shall bear its own fees and costs.
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26
      IT IS SO ORDERED

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28
      DATED: June 16, 2014                  _________________________________
                                            UNITED STATES DISTRICT JUDGE


                                             ORDER RE DISMISSAL 1
